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B6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Southern District of Florida
  In re          Gary Francis Hoste                                                                               Case No.      15-28607
                                                                                                           ,
                                                                                          Debtor
                                                                                                                  Chapter                   7




                                                      SUMMARY OF SCHEDULES - AMENDED
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                          ATTACHED           NO. OF             ASSETS                 LIABILITIES             OTHER
                                                         (YES/NO)          SHEETS

A - Real Property                                              Yes            1                            0.00


B - Personal Property                                          Yes            3                     97,695.81


C - Property Claimed as Exempt                                 Yes            1


D - Creditors Holding Secured Claims                           Yes            1                                                   0.00


E - Creditors Holding Unsecured                                Yes            1                                              20,397.74
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                Yes            1                                             955,265.46
    Nonpriority Claims

G - Executory Contracts and                                    Yes            1
   Unexpired Leases

H - Codebtors                                                  Yes            1


I - Current Income of Individual                               Yes            3                                                                      5,389.15
    Debtor(s)

J - Current Expenditures of Individual                         Yes            2                                                                      5,389.15
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                    15


                                                                        Total Assets                97,695.81


                                                                                            Total Liabilities               975,663.20




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B 6 Summary (Official Form 6 - Summary) (12/14)


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                                                               United States Bankruptcy Court
                                                                       Southern District of Florida
  In re           Gary Francis Hoste                                                                          Case No.   15-28607
                                                                                                          ,
                                                                                        Debtor
                                                                                                              Chapter                      7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                  Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                             TOTAL


              State the following:

              Average Income (from Schedule I, Line 12)


              Average Expenses (from Schedule J, Line 22)

              Current Monthly Income (from Form 22A-1 Line 11; OR,
              Form 22B Line 14; OR, Form 22C-1 Line 14 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




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 B6F (Official Form 6F) (12/07)


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   In re         Gary Francis Hoste                                                                                        Case No.       15-28607
                                                                                                                  ,
                                                                                               Debtor


                                          AMENDED
                SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                        C   Husband, Wife, Joint, or Community                              C   U   D
                   CREDITOR'S NAME,                                     O                                                                   O   N   I
                   MAILING ADDRESS                                      D   H                                                               N   L   S
                 INCLUDING ZIP CODE,                                    E               DATE CLAIM WAS INCURRED AND                         T   I   P
                                                                            W
                AND ACCOUNT NUMBER
                                                                        B             CONSIDERATION FOR CLAIM. IF CLAIM                     I   Q   U
                                                                                                                                                        AMOUNT OF CLAIM
                                                                        T   J                                                               N   U   T
                                                                        O               IS SUBJECT TO SETOFF, SO STATE.                     G   I   E
                  (See instructions above.)                             R
                                                                            C
                                                                                                                                            E   D   D
                                                                                                                                            N   A
Account No.                                                                     legal work regarding business settlement                    T   T
                                                                                                                                                E
                                                                                agreement                                                       D

Charles L. Jaffee, P.A.
7301A W. Palmetto Park Road, Ste.                                           -                                                                       X
305-C
Boca Raton, FL 33433-3466
                                                                                                                                                                       2,500.00
Account No.




Account No.




Account No.




                                                                                                                                         Subtotal
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_____ continuation sheets attached                                                                                                                                     2,500.00
                                                                                                                               (Total of this page)
                                                                                                                                           Total
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           Charles L. Jaffee, P.A.
           7301A W. Palmetto Park Road, Ste. 305-C
           Boca Raton, FL 33433-3466
